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                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF ARKANSAS
                                                  FORT SMITH DIVISION


                  UNITED STATES OF AMERICA                                                 PLAINTIFF

                                v.                  Case No. 2:05CR20038-004

                  DAVID HERRERA                                                            DEFENDANT


                                                REPORT AND RECOMMENDATION

                         This case is scheduled for trial on October 24, 2005. Before me is the motion of David

                  Herrera for a preliminary hearing to determine the admissibility of co-conspirator statements.

                  (Doc. 240).

                          I have entered a report recommending denial of the same motion by defendant Felix

                  Herrara, Jr. For reasons stated in that report, I recommend denial of the instant motion.

                         The parties have five (5) days to object to this report. Failure to make objections may

                  result in a waiver of any objections.

                         DATED THIS 12TH DAY OF OCTOBER, 2005.



                                                                         /s/ Beverly Stites Jones
                                                                         U. S. Magistrate Judge




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(Rev. 8/82)
